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           8                               UNITED STATES DISTRICT COURT

           9                              NORTHERN DISTRICT OF CALIFORNIA

          10   DAVID WIT, et al.,                             Case No. 14-cv-02346-JCS
                                                              Related Case No. 14-cv-05337-JCS
          11                Plaintiffs,
                                                              DECLARATION OF SUSAN J.
          12         v.                                       HARRIMAN IN SUPPORT OF
                                                              PLAINTIFFS’ REQUEST FOR
          13   UNITED BEHAVIORAL HEALTH,                      ATTORNEYS’ FEES
          14                Defendant.
                                                              Judge:     Hon. Joseph C. Spero
          15

          16

          17   GARY ALEXANDER, et al.,
          18                Plaintiffs,
          19         v.
          20   UNITED BEHAVIORAL HEALTH,
          21                Defendant.
          22

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                                    DECLARATION OF SUSAN J. HARRIMAN IN SUPPORT OF
                                       PLAINTIFFS’ REQUEST FOR ATTORNEYS’ FEES
                                                Case No. v14-cv-02346-JCS
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           1           I, Susan J. Harriman, declare and say that:

           2           1.     I am an attorney licensed to practice law in the State of California and serve as the

           3   General Counsel to the law firm of Keker, Van Nest & Peters LLP, where I was a partner from

           4   January 1, 1989 until December 31, 2019.

           5           2.     The law firm of Zuckerman Spaeder LLP (“Zuckerman”) has asked me to opine on

           6   the reasonableness of the rates that the members of Plaintiffs’ trial team charged in the instant

           7   litigation.

           8           3.     Before joining what was then Keker & Brockett on October 1, 1985, I was a

           9   teaching fellow at Stanford University Law School and then a law clerk to Chief Judge Robert F.

          10   Peckham of the United States District Court for the Northern District of California.

          11           4.     For every year since 2005 except one, I have been named as one of the Daily

          12   Journal’s Top Women Lawyers in the State of California. Since 2006, I have been listed in “The

          13   Best Lawyers In America” under the categories of “Bet the Company Litigation”, Commercial

          14   Litigation and Legal Malpractice Law. Since 2010, I have been a fellow in the American College

          15   of Trial Lawyers, serving on the National Board of Regents from 2014 through 2018. I currently

          16   serve on the Executive Committee and am the Treasurer of the College. I also am a Fellow in the

          17   International Academy of Trial Lawyers.

          18           5.     I have practiced law in the Bay Area for my entire career and am generally

          19   familiar with the hourly rates that Bay Area lawyers charge. Also, I frequently represent law
          20   firms and individual lawyers in suits for legal malpractice or malicious prosecution. Through

          21   those representations, I have had the opportunity to familiarize myself with the hourly rates

          22   charged by attorneys at many of the top firms in San Francisco and elsewhere. I also am familiar

          23   with the hourly rates awarded by state and federal courts in the cases in which my firm has either

          24   sought or opposed an award of attorneys’ fees. Based on my knowledge of the Bay Area legal

          25   market, the rates sought by the Zuckerman firm in this matter are not only in line with, but likely

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                                     DECLARATION OF SUSAN J. HARRIMAN IN SUPPORT OF
                                        PLAINTIFFS’ REQUEST FOR ATTORNEYS’ FEES
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           1   below, those prevailing in the legal community for similar services by lawyers of reasonably

           2   comparable skill and expertise.1

           3          6.      In evaluating the billing rates of the lawyers who tried this case, it is important to

           4   compare their skill set, not to the average lawyer in the Bay Area, but to someone with

           5   comparable skill and experience. The trial experience of the Zuckerman team, experience which

           6   is becoming harder and harder to find in these days of the vanishing jury trial, merits

           7   consideration in evaluating their rates. Moreover, the lawyers at the Zuckerman firm have a

           8   nationally-recognized practice representing patients and health care providers in high stakes

           9   disputes with health insurance companies. I am unaware of any Bay Area law firm that combines

          10   this same trial and substantive expertise.

          11          7.      In expressing my opinion on the reasonableness of Zuckerman’s hourly rates, I

          12   relied on the stellar backgrounds of the trial team members. For example, Mr. Kravitz, whose

          13   hourly billing rates ranged from $990 in 2016 to $1095 in 2019, is a 1980 graduate of Columbia

          14   Law School and was a law clerk to the Honorable Stephen Reinhardt of the 9th Circuit Court of

          15   Appeals. Mr. Kravitz was chair of the Zuckerman firm’s litigation department and, for more than

          16   30 years, has defended companies and executives in high profile cases involving matters with

          17   significant issues relating to health insurance, the financial services industry and fraud—just to

          18   name a few. He has earned recognition as a “Leading Lawyer” for business litigation and as a

          19   “Local Litigation Star.” Caroline Reynolds, whose hourly billing rates ranged from $590 in 2014
          20   to $825 in 2020, is a 2002 graduate of Yale Law School and served as a law clerk to the

          21   Honorable Keith P. Ellison of the U.S. District Court for the Southern District of Texas. Among

          22   other parts of her practice, Ms. Reynolds regularly represents patients and providers in actions

          23   seeking to enforce their rights under employer-sponsored insurance plans. She has been

          24   recognized as a 2020 Winning Litigator by the National Law Journal, as a 2020 Emerging

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          26     In evaluating the reasonableness of the rates, I understand that courts consider the hourly rates
               “prevailing in the community for similar services by lawyers of reasonably comparable skill,
          27   experience, and reputation,” Blum v. Stenson, 465 U.S. 886, 895–96 n.11 (1984), and specifically,
               rates in the forum district. Camacho v. Bridgeport Fin. Inc., 523 F.3d 973, 979 (9th Cir. 2008).
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                                     DECLARATION OF SUSAN J. HARRIMAN IN SUPPORT OF
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           1   Women Leader in Private Practice, as a Rising Star in Washington D.C. by Super Lawyers and

           2   received the 2013 Outstanding Achievement Award given by the Washington Lawyers’

           3   Committee for Civil Rights and Urban Affairs. Aitan Goelman, whose billing rate was $950 in

           4   2017 and $995 in 2019, is a 1993 graduate of Yale Law School and clerked on the Supreme Court

           5   of Israel for the Honorable Aharon Barak. Mr. Goelman has tried more than 50 cases to verdict,

           6   and, until February 2017, served as the Director of the Division of Enforcement of the U.S.

           7   Commodity Futures Trading Commission. He also is a former Assistant United States Attorney

           8   for the Southern District of New York where he prosecuted dozens of complex criminal cases,

           9   including RICO, murder, robbery, conspiracy and fraud. Trial team member Adam Abelson

          10   graduated magna cum laude from the New York University School of Law in 2010. His billing

          11   rates ranged from $525 in 2016 to $690 in 2020. Before joining the Zuckerman firm, Mr.

          12   Abelson served as a law clerk to the Honorable Andre M. Davis of the United States Court of

          13   Appeals for the Fourth Circuit and the Honorable Catherine C. Blake of the U. S. District Court

          14   for the District of Maryland. Much of Mr. Abelson’s practice also focuses on representing health

          15   care providers and their patients in high stakes disputes with health insurance companies. He was

          16   named a 2020 Young Lawyer of the Year by The American Lawyer. Finally, the background of

          17   Brian Hufford also justifies his hourly rates, which ranged from $905 in 2014 to $1145 in 2020.

          18   Mr. Hufford leads the nationally-acclaimed practice at Zuckerman of representing patients and

          19   health care providers in disputes with health insurance companies. Under his leadership, the
          20   firm’s health care practice was named 2017 Health Group of the Year and 2018 Benefits Group

          21   of the Year by Law360. In 2015, 2016, 2017 and 2019, Mr. Hufford was recognized as a

          22   Law360 Health MVP of the Year.

          23          8.      I have also reviewed the biographical background (as set forth in the Declaration

          24   of Caroline E. Reynolds) and the rates charged by the other Zuckerman partners on the matter,

          25   namely Jason S. Cowart, Steven Herman, Andrew Goldfarb, Daniel Moylan, and William

          26   Murphy, as well as David Reiser, who is counsel with the Zuckerman firm. The rates they

          27   charged, from 2014 to the present, have all been not only in line with, but likely below, those

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           1   prevailing in the legal community in the Bay Area for similar services by lawyers of reasonably

           2   comparable skill and expertise.

           3          9.      I also have been asked to comment on the reasonableness of the 2020 hourly

           4   billing rates of Zuckerman’s two co-counsel: Meiram Bendat and Anthony F. Maul. It is my

           5   understanding that Mr. Bendat is not only a practicing attorney but also a clinical psychotherapist

           6   and a nationally-recognized expert on ERISA and mental health access. Given that he is a 1998

           7   graduate of the University of Southern California School of Law and has a Ph.D. in

           8   psychoanalytic science, I find his hourly rate of $900 to be reasonable and well in line with the

           9   rates charged in the Bay Area legal community by lawyers of reasonably comparable skill and

          10   expertise. I am informed and believe that Mr. Maul, who obtained his J.D. from New York

          11   University Law School in 2000, has a practice that focuses on healthcare advocacy and reform.

          12   Prior to opening his own law firm, Mr. Maul practiced law for ten years at Latham Watkins LLP

          13   and then Pomerantz LLP. His hourly rate of $675 is well below the rates charged in the Bay Area

          14   by lawyers of reasonably comparable skill and experience.

          15          10.     As I know from my own experience in running trial teams in large, complex cases,

          16   the lawyers presenting evidence in the courtroom are only the tip of the iceberg when it comes to

          17   the trial team. Trials these days cannot be presented cogently and efficiently without a large

          18   supporting cast doing necessary but not always obvious work. The other lawyers on the team

          19   were involved in motions practice, all aspects of discovery, witness preparation, and overall trial
          20   preparation. The associates on the team had billing rates that ranged from a low of $460 in 2014

          21   to a high of $625/hour in 2016 (for Mr. Herman the year before he became a partner in the firm).

          22   These rates are comparable to the rates of associates at comparable Bay Area law firms. The trial

          23   team also included 10 staff attorneys over the seven-year life of this matter, whose rates ranged

          24   between $330 and $525/hour. I am informed and believe that the Zuckerman firm uses its staff

          25   attorneys in much the same way as Keker, Van Nest & Peters does – as long term, valued

          26   employees who contribute in invaluable ways to the success of a trial team. The 2020 rates of

          27   Keker, Van Nest & Peters’ three staff attorneys are all significantly higher than the 2020 rates of

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           1   Zuckerman’s staff attorneys, informing me that Zuckerman’s rates for its staff attorneys are in

           2   line with or below the rates of comparable Bay Area law firms.

           3          11.     Every strong trial team has good paralegals and litigation support services, and the

           4   Zuckerman team was no exception. Upon information and belief, the lead paralegal on the team

           5   was Lori Duignan, who has more than 15 years of experience working as a litigation paralegal

           6   across multiple practice areas. Her rates, which ranged from $295/hour in 2014 to $370/hour in

           7   2020, appear reasonable and well in line with the billing rates of litigation paralegals at Bay Area

           8   law firms. Another paralegal on the team—Jay Chen—also has 15 years of law firm experience

           9   as a paralegal. His rates ranged from $300/hour in 2015 to $355/hour in 2019, which rates are

          10   reasonable and in keeping with (if not below) the paralegal rates at comparable Bay Area law

          11   firms. I understand that Patrick Schmidt is the Manager of Litigation Support at Zuckerman and

          12   has 19 years of experience in eDiscovery. His rates ranged from $270/hour in 2014 to $360/hour

          13   in 2020, rates well within the customary range for litigation support personnel at comparable

          14   firms in the Bay Area.

          15          12.     My view regarding the reasonableness of the Zuckerman rates is supported by data

          16   that my firm obtained from Public Rates, a “dynamic web-based billing rate service that”

          17   provides “access to accurate, court reported, hourly rate data….” The Public Rates database,

          18   which is owned by Thomson, contains, among other things, 2018 rates for California attorneys

          19   that were previously disclosed in other matters, primarily bankruptcy filings. A true and correct
          20   copy of that data is attached hereto as Exhibit A. I am informed and believe that more up to date

          21   versions of the database are no longer publicly available.

          22          13.     The Public Rates data in Exhibit A demonstrates that the rates that Zuckerman

          23   billed in this matter are well within the customary and reasonable range for attorneys at Bay Area

          24   top-tiered litigation firms. For instance, in 2018, peer firms, such as Kirkland & Ellis LLP and

          25   Gibson Dunn & Crutcher, LLP (Gibson Dunn) charge, respectively, $1,395 per hour for partners

          26   who graduated in 2003 and $1155 for a partner who graduated in 2007. These rates exceed the

          27   highest rate of any Zuckerman partner, despite Zuckerman’s trial and unique health care

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           1   expertise. According to Public Rates’ data, the average rate charged by partners in California

           2   in 2018 was $1080.23 per hour—higher than the 2018 rates of all of Zuckerman’s partners who

           3   billed time to this case and only slightly below the 2019 rates of Carl Kravitz and Brian Hufford,

           4   who graduated from law school in 1980 and 1985, respectively. Similarly, the average rate

           5   charged for associates in California in 2018 was $699.83 per hour—higher than the prevailing

           6   rates of any of Zuckerman associates working on this matter in 2018, 2019 or 2020.

           7          14.     In addition, Richard Pearl, author of a leading treatise on California attorney-fee

           8   practice, also has submitted a declaration in this case with survey information regarding

           9   prevailing rates. The information in the surveys attached to Mr. Pearl’s declaration provide a

          10   meaningful comparison between the rates charged by Bay Area law firms and those charged by

          11   the Zuckerman firm. That comparison supports my opinion that the rates by Zuckerman’s

          12   timekeepers are reasonable and within or below the range of those charged by comparable Bay

          13   Area law firms.

          14          15.     As is shown in Exhibit A and in the surveys attached to Mr. Pearl’s declaration

          15   and based on my experience, it is customary at law firms in the Bay Area and beyond to increase

          16   rates each year. The annual increase in the hourly rates by the timekeepers in the Zuckerman

          17   firm are modest, keeping their hourly rates within the range of rates of those charged by

          18   comparable Bay Area law firms.

          19          16.        In sum, the rates that Zuckerman seeks in this case are well within the customary
          20   and reasonable range for attorneys, paralegals and litigation support personnel of comparable

          21   skill, experience and reputation in the Bay Area legal community.

          22          I declare under penalty of perjury under the laws of the United States that the foregoing is

          23   true and correct and that this Declaration was executed on November 20, 2020 in San Francisco,

          24   California.

          25
                                                      /s/ Susan J. Harriman
          26                                          SUSAN J. HARRIMAN
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                                       DECLARATION OF SUSAN J. HARRIMAN IN SUPPORT OF
                                          PLAINTIFFS’ REQUEST FOR ATTORNEYS’ FEES
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  EXHIBIT A
                          Case
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and auto-saved search history.
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 Use Public Rates to:                                         • Timekeeper
• Determine optimal rates and profit opportunities            • Year of admission
• Justify rates submitted to courts on fee applications       • Firm
• Track lawyer performance                                    • Segment
• Get pricing transparency in the marketplace                 • Location
                                                              • Jurisdiction
                                                              • Role
                                                              • Year of filing
                                                              • Case
                                                              • Historical records as far back as 7 years

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                                    California Rates (January–May 2018)

Title         Professional            Firm                                 Graduated   Admitted   State   Rate     Hours     Total
Partner      David M. Nemecek        Kirkland & Ellis LLP                  2003        2003       CA      $1,395       2.4     $3,348.00
Partner      Leslie A. Plaskon       Paul Hastings LLP                     1988        1988       CA      $1,275      260    $331,500.00
Partner      Thomas B. Walper        Munger Tolles & Olson LLC             1980        1980       CA      $1,225    166.7    $204,207.50
Partner      Jeffrey B Greenberg     Latham & Watkins LLP                  1996        1996       CA      $1,175       3.3     $3,877.50
Partner      Mark E. McKane          Kirkland & Ellis LLP                  1997        1997       CA      $1,175     79.1     $92,942.50
Partner      Paul D Tanaka           Kirkland & Ellis LLP                  2003        2003       CA      $1,145       1.1     $1,259.50
Partner      Annie Kim               Proskauer Rose LLP                    2004        2004       CA      $1,125     22.1     $24,862.50
Partner      Jonathan Benloulou      Proskauer Rose LLP                    2006        2006       CA      $1,125       2.9     $3,262.50
Partner      Robert J Frances        Latham & Watkins LLP                  2001        2001       CA      $1,125       1.7     $1,912.50
Partner      Dean A. Ziehl           Pachulski Stang Ziehl Young Jones &   1978        1978       CA      $1,050     73.3     $76,965.00
Partner      James I. Stang          Pachulski Stang Ziehl Young Jones &   1980        1980       CA      $1,050    111.4    $116,970.00
Partner      Alan J. Kornfeld        Pachulski Stang Ziehl Young Jones &   1987        1987       CA      $1,025     78.9     $80,872.50
Partner      Stephen D. Rose         Munger Tolles & Olson LLC             1991        1991       CA      $1,025     63.9     $65,497.50
Partner      Unger Sean              Paul Hastings LLP                     2004        2004       CA      $1,025    103.2    $105,780.00
Partner      Stefanie I Gitler       Kirkland & Ellis LLP                  2009        2009       CA      $995      225.1    $223,974.50
Partner      Tate Eric A.            Morrison & Foerster LLP               1995        1995       CA      $990         0.3       $297.00
Partner      Michael Esser           Kirkland & Ellis LLP                  2009        2009       CA      $965      542.6    $523,609.00
Associate    Campbell Gavin          Kirkland & Ellis LLP                  2012        2012       CA      $950      227.7    $216,315.00
Partner      David M. Bertenthal     Pachulski Stang Ziehl Young Jones &   1993        1989       CA      $950      107.7    $102,315.00
Associate    Olsen Katrina           Kirkland & Ellis LLP                  2014        2014       CA      $950         4.6     $4,370.00
Partner      Janie F. Schulman       Morrison & Foerster LLP               1987        1987       CA      $925         0.2       $185.00
Associate    Jacob Johnston          Kirkland & Ellis LLP                  2013        2013       CA      $905           5     $4,525.00
Partner      Kenneth H. Brown        Pachulski Stang Ziehl Young Jones &   1981        1977       CA      $895         5.9     $5,280.50
Partner      Kevin S. Allred         Munger Tolles & Olson LLC             1986        1986       CA      $875      209.7    $183,487.50
Partner      Knudsen Erik G.         Morrison & Foerster LLP               2007        2007       CA      $875      269.4    $235,725.00
Counsel      Adam Lin                Orrick, Herrington & Sutcliffe LLP    2004        2004       CA      $850           3     $2,550.00
Associate    Austin Klar             Kirkland & Ellis LLP                  2013        2013       CA      $845        173    $146,185.00
Associate    Michael Saretsky        Kirkland & Ellis LLP                  2015        2015       CA      $835      237.2    $198,062.00
Of Counsel   Harry D. Hochman        Pachulski Stang Ziehl Young Jones &   1987        1987       CA      $825       69.1     $57,007.50
Of Counsel   Lloyd W. Aubry          Morrison & Foerster LLP               1975        1975       CA      $825         1.6     $1,320.00
Partner      Seth Goldman            Munger Tolles & Olson LLC             2002        2002       CA      $825      260.5    $214,912.50
Of Counsel   Victoria A. Newmark     Pachulski Stang Ziehl Young Jones &   1996        1996       CA      $825         1.6     $1,320.00
Of Counsel   Yana S. Johnson         Morrison & Foerster LLP               1999        1999       CA      $825         3.2     $2,640.00
Associate    Austin Klar             Kirkland & Ellis LLP                  2013        2013       CA      $810       23.3     $18,873.00
Associate    Cynthia Castillo        Kirkland & Ellis LLP                  2015        2015       CA      $810      178.8    $144,828.00
Associate    Kevin Chang             Kirkland & Ellis LLP                  2014        2014       CA      $810         8.4     $6,804.00
Of Counsel   Nardali Ali U.          Morrison & Foerster LLP               2008        2008       CA      $795         4.4     $3,498.00
Associate    Ramin Montazeri         Latham & Watkins LLP                  2016        2016       CA      $795       10.9      $8,665.50
Associate    Lee Muhyung             Proskauer Rose LLP                    2015        2015       CA      $780       37.5     $29,250.00
Of Counsel   Jeffrey L. Kandel       Pachulski Stang Ziehl Young Jones &   1984        1984       CA      $750       10.7      $8,025.00
Of Counsel   Bradley R. Schneider    Munger Tolles & Olson LLC             2004        2004       CA      $735       88.9     $65,341.50
Associate    Curtis Kelly M          Proskauer Rose LLP                    2016        2016       CA      $730       39.6     $28,908.00
Associate    Cynthia Castillo        Kirkland & Ellis LLP                  2015        2015       CA      $725       30.3     $21,967.50
Associate    Joanna A Gorska         Latham & Watkins LLP                  2014        2014       CA      $725         2.4     $1,740.00
Counsel      Elissa A. Wagner        Pachulski Stang Ziehl Young Jones &   2001        2001       CA      $695           5     $3,475.00
Associate    Benjamin Butterfield    Morrison & Foerster LLP               2014        2014       CA      $660      883.2    $582,912.00
Partner      David M. Eaton          Kilpatrick Townsend & Stockton LLP    1996        1996       CA      $660         5.3     $3,498.00
Associate    Ankur Sharma            Kirkland & Ellis LLP                  2016        2016       CA      $645       16.4     $10,578.00
Associate    Maxwell Coll            Kirkland & Ellis LLP                  2016        2016       CA      $630         15      $9,450.00
Associate    Brashears Travis C      Proskauer Rose LLP                    2016        2016       CA      $595         8.3     $4,938.50
Associate    Sadeghi Sam             Paul Hastings LLP                     2016        2016       CA      $585       22.9     $13,396.50
Associate    Jenny Pierce            Kirkland & Ellis LLP                  2016        2016       CA      $555         1.2       $666.00
Associate    Meg A Webb              Kirkland & Ellis LLP                  2017        2017       CA      $555         1.4       $777.00
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Associate   Peter E. Boos         Munger Tolles & Olson LLC   2014   2014   CA   $550   88.05   $48,427.50
Associate   Floyd Amani Solange   Morrison & Foerster LLP     2014   2014   CA   $540     3.9    $2,106.00
Associate   Glock Jana            Morrison & Foerster LLP     2015   2015   CA   $540    22.2   $11,988.00
Associate   Kerry C. Jones        Morrison & Foerster LLP     2014   2014   CA   $540    11.5    $6,210.00
Associate   Roumiantseva Dina     Morrison & Foerster LLP     2014   2014   CA   $540       5    $2,700.00
Associate   Scheinok Brittany     Morrison & Foerster LLP     2015   2015   CA   $485    27.2   $13,192.00
Associate   Coleman Matthew       Ropes & Gray LLP            2014   2014   CA   $450     2.5    $1,125.00
Associate   Tobyn Yael Aaron      Morrison & Foerster LLP     2016   2016   CA   $435    26.4   $11,484.00
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                                       California Rates (June–December 2018)

    Title                Professional          Firm                                   Graduated Admitted State   Rate     Hours     Total
    Partner            Kenneth Klee            Klee, Tuchin, Bogdanoff & Stern, LLP         1975     1974 CA     $1,475     46.4    $68,440.00
    Partner            Eric Reimer             Milbank Tweed Hadley & McCloy LLP            1987     1987 CA     $1,465      7.9    $11,573.50
    Partner            Gregory A. Bray         Milbank Tweed Hadley & McCloy LLP            1984     1984 CA     $1,465    234.1   $342,956.50
    Partner            Madden P.C. Rick C      Kirkland & Ellis LLP                         1995     1995 CA     $1,445     31.2    $45,084.00
    Partner            David M. Nemecek        Kirkland & Ellis LLP                         2003     2003 CA     $1,395      2.4     $3,348.00
    Partner            Browning P.C. Marc D    Kirkland & Ellis LLP                         1998     1998 CA     $1,375      4.2     $5,775.00
    Partner            Isaac M Pachulski       Pachulski Stang Ziehl Young Jones &          2014     2014 CA     $1,295      0.7       $906.50
    Partner            Walker Elizabeth W      Sidley Austin LLP                            1984     1984 CA     $1,250      3.7     $4,625.00
    Partner            David Stern             Klee, Tuchin, Bogdanoff & Stern, LLP         1975     1975 CA     $1,245     67.4    $83,913.00
    Partner            Michael Tuchin          Klee, Tuchin, Bogdanoff & Stern, LLP         1990     1990 CA     $1,245    191.1   $237,919.50
    Partner            Richard M. Pachulski    Pachulski Stang Ziehl Young Jones &          1979     1979 CA     $1,245    274.7   $342,001.50
    Partner            Dennis Arnold           Gibson Dunn & Crutcher, LLP                  1976     1975 CA     $1,210     65.2    $78,892.00
    Partner            Cromwell Montgomery     Gibson Dunn & Crutcher, LLP                  1997     1997 CA     $1,205      0.9     $1,084.50
    Partner            Oscar Garza             Gibson Dunn & Crutcher, LLP                  1990     1990 CA     $1,205    116.1   $139,900.50
    Partner            Austin V Schwing        Gibson Dunn & Crutcher, LLP                  2000     2000 CA     $1,155      0.7       $808.50
    Partner            Douglas Michael Fuchs   Gibson Dunn & Crutcher, LLP                  2007     2007 CA     $1,155     53.5    $61,792.50
    Partner            Annie Kim               Proskauer Rose LLP                           2004     2004 CA     $1,125     11.6    $13,050.00
    Partner            Jonathan Benloulou      Proskauer Rose LLP                           2006     2006 CA     $1,125      2.9     $3,262.50
    Partner            James I. Stang          Pachulski Stang Ziehl Young Jones &          1980     1980 CA     $1,095     63.4    $69,423.00
    Partner            Farshad E. More         Gibson Dunn & Crutcher, LLP                  2003     2003 CA     $1,080      0.8       $864.00
    Partner            Jesse I. Shapiro        Gibson Dunn & Crutcher, LLP                  2000     2000 CA     $1,080     10.9    $11,772.00
    Partner            David Fidler            Klee, Tuchin, Bogdanoff & Stern, LLP         1998     1997 CA     $1,075    237.9   $255,742.50
    Special            Brian Stern             Milbank Tweed Hadley & McCloy LLP            2003     2003 CA     $1,065      7.5     $7,987.50
    Special            Haig Maghakian          Milbank Tweed Hadley & McCloy LLP            2002     2002 CA     $1,065    264.8   $282,012.00
    Partner            Jesse A. Cripps Jr.     Gibson Dunn & Crutcher, LLP                  2011     2011 CA     $1,045     16.2    $16,929.00
    Partner            Mehta Anjna             Kirkland & Ellis LLP                         2000     2000 CA     $1,045     10.9    $11,390.50
    Of Counsel         Richard J. Gruber       Pachulski Stang Ziehl Young Jones &          1982     1982 CA     $1,025      9.1     $9,327.50
    Partner            Samuel Newman           Gibson Dunn & Crutcher, LLP                  2001     2001 CA     $1,010    326.5   $329,765.00
    Partner            Debra I. Grassgreen     Pachulski Stang Ziehl Young Jones &          1992     1992 CA       $995     15.7    $15,621.50
    Associate          Jessica Dombroff        Milbank Tweed Hadley & McCloy LLP            2009     2009 CA       $995     13.3    $13,233.50
    Partner            Katherine V.A Smith     Gibson Dunn & Crutcher, LLP                  2015     2015 CA       $995      0.6       $597.00
    Partner            Matthew B Dubeck        Gibson Dunn & Crutcher, LLP                  2017     2017 CA       $995     44.1    $43,879.50
    Partner            Robert J. Pfister       Klee, Tuchin, Bogdanoff & Stern, LLP         2001     2001 CA       $995    123.3   $122,683.50
    Partner            David M. Bertenthal     Pachulski Stang Ziehl Young Jones &          1993     1989 CA       $975      6.5     $6,337.50
    Partner            Jeffrey N. Pomerantz    Pachulski Stang Ziehl Young Jones &          1989     1989 CA       $975     66.5    $64,837.50
    Associate          Campbell Gavin          Kirkland & Ellis LLP                         2012     2012 CA       $950    336.5   $319,675.00
    Partner            Henry C. Kevane         Pachulski Stang Ziehl Young Jones &          1986     1986 CA       $950      4.8     $4,560.00
    Associate          Olsen Katrina           Kirkland & Ellis LLP                         2014     2014 CA       $950      4.6     $4,370.00
    Partner            Stanley E. Goldich      Pachulski Stang Ziehl Young Jones &          1980     1980 CA       $925        7     $6,475.00
    Associate          Najeh Baharun           Milbank Tweed Hadley & McCloy LLP            2013     2013 CA       $910     28.3    $25,753.00
    Partner            David M. Guess          Klee, Tuchin, Bogdanoff & Stern, LLP         2005     2005 CA       $895     84.5    $75,627.50
    Partner            Maria Sountas           Klee, Tuchin, Bogdanoff & Stern, LLP         2006     2006 CA       $895     23.2    $20,764.00
    Partner            Whitman L. Holt         Klee, Tuchin, Bogdanoff & Stern, LLP         2005     2005 CA       $895     54.7    $48,956.50
    Associate          Allison Balick          Gibson Dunn & Crutcher, LLP                  2009     2009 CA       $875      5.4     $4,725.00
    Associate          Caldon Brendan W        Kirkland & Ellis LLP                         2007     2007 CA       $875      1.5     $1,312.50
    Associate          Daniel B. Denny         Gibson Dunn & Crutcher, LLP                  2005     2005 CA       $875    436.1   $381,587.50
    Associate          Douglas G. Levin        Gibson Dunn & Crutcher, LLP                  2009     2009 CA       $875    205.2   $179,550.00
    Associate          Genevieve G. Weiner     Gibson Dunn & Crutcher, LLP                  2007     2007 CA       $875     93.7    $81,987.50
    Partner            Maxim B. Litvak         Pachulski Stang Ziehl Young Jones &          1997     1997 CA       $875     89.6    $78,400.00
    Associate          Melissa Leigh Barshop   Gibson Dunn & Crutcher, LLP                  2006     2006 CA       $875        5     $4,375.00
    Associate          Jonathan Schaefler      Gibson Dunn & Crutcher, LLP                  2016     2016 CA       $860      1.9     $1,634.00
    Partner            Joshua M. Fried         Pachulski Stang Ziehl Young Jones &          1995     1995 CA       $850     74.1    $62,985.00
    Of Counsel         Gurule Julian I         Klee, Tuchin, Bogdanoff & Stern, LLP         2007     2007 CA       $825     39.3    $32,422.50



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    Associate          Ian T. Long            Gibson Dunn & Crutcher, LLP            2015   2015   CA   $820    140    $114,800.00
    Associate          Goldberg Zachary       Milbank Tweed Hadley & McCloy LLP      2016   2016   CA   $790   162.4   $128,296.00
    Associate          Lee Muhyung            Proskauer Rose LLP                     2015   2015   CA   $780    28.2    $21,996.00
    Partner            Jamie L. Edmonson      Venable LLP                            1996   1996   CA   $765   180.3   $137,929.50
    Associate          Tiffany X. Phan        Gibson Dunn & Crutcher, LLP            2013   2013   CA   $760     8.7     $6,612.00
    Of Counsel         Erin Gray              Pachulski Stang Ziehl Young Jones &    1992   1991   CA   $750     9.9     $7,425.00
    Partner            Justin D. Yi           Klee, Tuchin, Bogdanoff & Stern, LLP   2009   2009   CA   $750     3.9     $2,925.00
    Associate          Chapple Catherine L.   Morrison & Foerster LLP                2012   2012   CA   $725       4     $2,900.00
    Associate          Jonathan M. Weiss      Klee, Tuchin, Bogdanoff & Stern, LLP   2012   2012   CA   $725   195.4   $141,665.00
    Of Counsel         William Ramseyer       Pachulski Stang Ziehl Young Jones &    1980   1980   CA   $725    18.8    $13,630.00
    Associate          Sarah A. Carnes        Cooley LLP                             2014   2014   CA   $710   146.1   $103,731.00
    Associate          Latta R T              Jones Day                              2011   2011   CA   $700   194.5   $136,150.00
    Associate          Samuel M. Kidder       Klee, Tuchin, Bogdanoff & Stern, LLP   2012   2012   CA   $675    88.6    $59,805.00
    Associate          Thomas H Alexander     Gibson Dunn & Crutcher, LLP            2015   2015   CA   $660    23.7    $15,642.00
    Associate          Sasha M. Gurvitz       Klee, Tuchin, Bogdanoff & Stern, LLP   2014   2014   CA   $625   114.9    $71,812.50
    Associate          Robert J. Smith        Klee, Tuchin, Bogdanoff & Stern, LLP   2016   2016   CA   $600    35.8    $21,480.00
    Associate          Brashears Travis C     Proskauer Rose LLP                     2016   2016   CA   $595     8.3     $4,938.50
    Associate          Matthew S Coe-Odess    Gibson Dunn & Crutcher, LLP            2016   2016   CA   $595    16.9    $10,055.50
    Associate          Katherine A Lau        Gibson Dunn & Crutcher, LLP            2017   2017   CA   $525    97.7    $51,292.50
    Associate          Tran J L               Jones Day                              2015   2015   CA   $525    60.2    $31,605.00
    Associate          Nicholas A. Koffroth   Venable LLP                            2012   2012   CA   $515    94.9    $48,873.50
    Associate          Liu R Q                Jones Day                              2015   2015   CA   $475    34.2    $16,245.00
    Associate          Stuart B W             Jones Day                              2013   2013   CA   $475   208.6    $99,085.00
    Associate          Doyle A M              Jones Day                              2017   2017   CA   $450     6.5     $2,925.00
    Associate          Udenka Honieh          Brown Rudnick LLP                      2017   2017   CA   $375       1       $375.00




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